                           Exhibit 1




Case 1:20-cv-00954-WO-JLW Document 61-1 Filed 09/30/21 Page 1 of 16
-64-
       Case 1:20-cv-00954-WO-JLW Document 61-1 Filed 09/30/21 Page 2 of 16
Case 1:20-cv-00954-WO-JLW Document 61-1 Filed 09/30/21 Page 3 of 16
Case 1:20-cv-00954-WO-JLW Document 61-1 Filed 09/30/21 Page 4 of 16
Case 1:20-cv-00954-WO-JLW Document 61-1 Filed 09/30/21 Page 5 of 16
Case 1:20-cv-00954-WO-JLW Document 61-1 Filed 09/30/21 Page 6 of 16
Case 1:20-cv-00954-WO-JLW Document 61-1 Filed 09/30/21 Page 7 of 16
Case 1:20-cv-00954-WO-JLW Document 61-1 Filed 09/30/21 Page 8 of 16
Case 1:20-cv-00954-WO-JLW Document 61-1 Filed 09/30/21 Page 9 of 16
        -45-
Case 1:20-cv-00954-WO-JLW Document 61-1 Filed 09/30/21 Page 10 of 16
        -46-
Case 1:20-cv-00954-WO-JLW Document 61-1 Filed 09/30/21 Page 11 of 16
                                     ·········
                                   ·········
                                   ·. ·. ·. ·. .· ·. ·. ·. ·.
                                     ·········
                                   ·········
                                    · ········
                                    ·········
                                   ·····     · · ····
                                     · · · ···     · ···
                                                      ···
                                    ····
                                       ········


                                    H����:::
                                     ������:::


                                    /H       /:
                                    . . . . . .. . . .




       -47-
Case 1:20-cv-00954-WO-JLW Document 61-1 Filed 09/30/21 Page 12 of 16
                                   ........
                                   ·········�


                                   ......... ,
                                   :::::::::�
                                   ..........
                                   ··········



                                   ........ �
                                   .........
                                   ·········
                                   ········"




       -48-
Case 1:20-cv-00954-WO-JLW Document 61-1 Filed 09/30/21 Page 13 of 16
       -49-
Case 1:20-cv-00954-WO-JLW Document 61-1 Filed 09/30/21 Page 14 of 16
       -50-
Case 1:20-cv-00954-WO-JLW Document 61-1 Filed 09/30/21 Page 15 of 16
       -51-
Case 1:20-cv-00954-WO-JLW Document 61-1 Filed 09/30/21 Page 16 of 16
